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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT CF VIRGINIA

                                    NEWPORT   NEWS
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UNITED STATES OF AMERICA,                         CASE NO.   4:11CR00089-0012 (MSD)
       Plaintiff                                  MOTION   FOR    REDUCTION
                                                  OF   SENTENCE

v
                                                  PURSUANT TO 18 DSC § 3582(c)(2)

Brian   D.   Jarvis                                MEMORANDUM OF POINTS
          Defendant,                               AND AUTHORITIES


                                         MOTION




        Defendant hereby moves this Honorable Court for a reduction in the
sentence imposed in the case on July 9, 2012. This motion is made pursuant
to 18 U.S-C       § 3582   (c)(2) and    is based on the attached memorandum of
points and authorities.        All files and records in this case,                  and such
further argument and evidence,          may be presented at the hearing on this
motion.




Respectfully Submitted



Dated: Qg&m l?Ct<~             $-1 , 2014   By Brian D. Jarvis
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                                 I.   INTRODUCTION




    On July 9, 2012, Brian D. Jarvis ("the defendant") was sentenced for
Conspiracy To Possess With Intent To Distribute Narcotic CT 1, 21 U-S.C.§
846, 841 (A)(1) 841 (B)(1)(A), and 841 (B)(1)(B), to serve 188 months
imprisonment and 5 years supervised release. The sentence was imposed
under the Sentencing Guidelines, with a base offense level computed under
2D1.1 of the Guidelines for a narcotic quantity. That base offense level-
under the Guidelines in effect at the time—was level 36. Combined with
other Guidelines factors,        it produced a Guidelines range of 188-235
months. The sentence imposed by the Court was 188 months, which was the
low end.




     Subsequent to the defendant's sentencing, on November 1, 2014, an
amendment to § 2D1.1 of the Guidelines took effect, which generally
reduces base offense levels for all quantities of drugs by two levels and,
specifically, reduces the base offense level for the narcotics in this
case by two levels, to level 34.


     Prior   to   the   effective     date     of   this   amendment   to   §2Dl.l,   the
Sentencing Commission considered whether to make the amendment retroactive
under the authority created by 18 U.S.C § 3582 (c)(2). It took that
action on July 18, 2014, by including this amendment in the list of
retroactive amendments      in   § 1B1.10 of the Guidelines.            Based on this
retroactivity and the statutory authority underlying it:


 Brian D. Jarvis brings this motion to reduce his sentence.


                                      II.    Argument
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A. BRIAN D. JARVIS1         OFFENSE LEVEL SHOULD BE REDUCED FROM 33 TO 31, AND THE

GUIDELINES RANGE REDUCED FROM lfafa-235 TO 151-188,                        BASED ON THE AMENDMENT

TO § 2D1.1.



18 u.S.C.       § 3582 (c)(2) provides as follows:

       "[l]n the case of the defendant who haj been sentenced to a term of

imprisonment        based   on the        sentencing     range      that    has subsequently been
lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994 (0), upon
motion of the defendant...            the Court may reduce the term of imprisonment,

after considering the factors set forth in section 3553 (a) to the extent
that     they     are    applicable,       if    such    a    reduction       is     consistent       with
applicable policy statements issued by the Sentencing Commission".


       Section 1B1.10 is the Guidelines policy statement which implements 18

U.S.C.      §   3582    (c)(2).     Subsection     (c)       of   that     policy    statement     lists

amendments       that    are     covered    by   the    policy      statement,       and   one   of    the

amendments        listed    is    amendment      782    to    the    Guidelines.       Amendment       782

reduced the base offense levels for most drug offenses.                             See U.S.S.G.      App.

C, § 782. Application of this amendment to the narcotics Guidelines in the
present case results in a decrease of the base offense level from 36 to
34, a decrease in the total offense level from 33 to 31, which includes a

three point reduction for acceptance of responsibility, and a decrease in
the resulting Guidelines range from 188-235 to 151-188.



B.    THE   COURT      SHOULD    REDUCE    BRIAN   D.    JARVIS'     SENTENCE       SUBSTANTIALLY       IN

CONSIDERATION OF POST-SENTENCE REHABILITATION AND § 3553 (a) FACTORS.
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      Based on the amendment to 2D1.1/ the court should significantly
reduce the defendant's sentence. It follows from the discussion

in the preceding section that the amendment alone justifies a
reduction of 37 months.




      The court should not stop there. However,       there are a number

of non-Guidelines factors that justify a sentence below even the

new Guidelines range. The court should also consider the defendant's

extraordinary post-sentence rehabilitative efforts, as well as his

lack of a threat to society.



      Since being incarcerated, the defendant has completed the
following:

i. Drug Abuse Education;

ii. 10 Hours Anger Management Course;

iii. .Cross Fitness Class,    and

iv.   AB Fitness Course;



      Brian D. Jarvis is also currently enrolled in the 12 Step Drug
Program, and Parenting Course. The ("defendant") is also on the

waiting list to be placed into the GED Program. He is also seeking
to enroll in college correspondence in hopes of acquiring a degree
in Psychology. However, due to limited funds, this may be a very
difficult task since all inmates are barred from receiving most
federal financial aid. Upon release, the defendant will become

eligible for aid and plans to take full advantage of it to meet
his goals.
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     The defendant also desires to counsel and work with (at-risk)
teens upon his release. Earning a degree in Psychology is a major
step towards realizing that dream. Therefore, he continues to search
for funding in hopes of completing his education prior to release.


     These factors should be considered in reducing the defendant's
sentence and show his rehabilitation and perseverance to become a
productive member of society.



                               III.   CONCLUSION




     Wherefore, the defendant respectfully request that this
Honorable Court grant the relief requested and re-sentence him

under the newly amended Guidelines         to 151-months, which represents
the low end of the defendant's recalculated offense level of 31.




Respectfully Submitted,


   Brian D. Jarvis



Dated: /Jvy,i/\ 1-e/.   ,£ [   , 2014 By Brian D. Jarvif


Brian D.    Jarvis
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F.C.I. Williamsburg
Salter,    SC 29590
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  Respectfully Submitted,

     Brian D.   Jarvis


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